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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                            :                 CASE NO: 19-66755-SMS
                                  :                 CHAPTER: 13
                                  :
DAVID MATTHEW STOW                :
     Debtor                       :
-------------------------------- --                 --------------------------------
1 OAK VENTURES STEP FUND LLC,     :
     Movant,                      :
                                  :                 CONTESTED MATTER
vs.                               :
                                  :
DAVID MATTHEW STOW                :
MARY IDA TOWNSON, Trustee         :
     Respondents.                 :

                             OBJECTION TO CONFIRMATION

       COMES NOW, 1 Oak Ventures Step Fund LLC, its successors or assigns, (hereinafter

referred to as “Movant”) and shows the Court that for reasons set out below, Movant objects to

the confirmation of the Debtor`s Plan;

                                               1.

       Movant holds a valid second lien relative to a property located at 270 LINKWOOD

ROAD, NW, ATLANTA, GA 30318 (the” Property”). Movant will timely file a Proof of Claim,

on or before the Proof of Claim Bar Date, listing a total debt payoff of approximately $51,728.49

and an interest rate of 13.9500%. The loan is due to mature on June 20, 2020, which is during the

pendency of the instant case.

                                               2.

       The Debtor’s Plan proposes to pay the claim as an arrearage claim and shows no

provision to pay the loan in full during the life of the Plan. Therefore, Movant objects to

confirmation of the plan in its current form
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       WHEREFORE, 1 Oak Ventures Step Fund LLC, its successors or assigns, prays that this

Court inquire as to the matters raised herein and deny confirmation of the Debtor`s Plan, or enter

such orders and require such further inquiry as may appear appropriate to the Court.

Dated: 12/18/19


/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(877) 813-0992
lcaplan@rubinlublin.com
Attorney for Creditor
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                                CERTIFICATE OF SERVICE

       I, Lisa F. Caplan of Rubin Lublin, LLC certify that on the 18th day of December, 2019, I
caused a copy of the Objection to Confirmation to be filed in this proceeding by electronic means
and to be served by depositing a copy of the same in the United States Mail in a properly
addressed envelope with adequate postage thereon to the said parties as follows:

David Matthew Stow
270 LINKWOOD ROAD NORTHWEST
ATLANTA , GA 30318

Karen King, Esq.
King & King Law LLC
215 Pryor Street, S.W.
Atlanta, GA 30303

Mary Ida Townson, Trustee
Chapter 13 Trustee
285 Peachtree Center Ave, NE
Suite 1600
Atlanta, GA 30303

Executed on: 12/18/19
By:/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(877) 813-0992
lcaplan@rubinlublin.com
Attorney for Creditor
